ROBERT G. JOHNSON, EXECUTOR, ESTATE OF R. H. JOHNSON, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  ROBERT G. JOHNSON, EXECUTOR, ESTATE OF KATE JOHNSON, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Johnson v. CommissionerDocket Nos. 7441, 7442.United States Board of Tax Appeals10 B.T.A. 229; 1928 BTA LEXIS 4147; January 26, 1928, Promulgated *4147  Bad debts and traveling expenses held deductible from community income for the taxable year.  John F. Watson, Esq., for the petitioner.  J. E. Marshall, Esq., for the respondent.  LANSDON *229  The respondent has asserted deficiencies in income taxes for the year 1920 as to R. H. Johnson, in the amount of $475.67, and for the years 1919 and 1920 as to Kate G. Johnson, in the respective amounts *230  of $824.13 and $481.65.  Prior to the assertion of the deficiencies here involved both taxpayers died.  These proceedings were initiated by Robert G. Johnson, executor of the estate of the decedents.  For causes of action it is alleged that the respondent erred (1) in disallowing certain traveling expenses alleged to have been incurred by R. H. Johnson in 1920 in connection with business matters and (2) in disallowing as deductions from gross income certain amounts alleged to represent bad debts ascertained to be worthless and charged off as of that year.  By agreement of the parties, the two proceedings were consolidated for hearing and decision.  FINDINGS OF FACT.  During the taxable years R. H. Johnson and Kate Johnson resided in Washington*4148  and constituted a marital community under the laws of that State, and for each of such years each made a separate income-tax return.  Throughout the taxable years R. H. Johnson was engaged in the grain business in the City of Walla Walla.  At the close of the year 1920 he owned accounts receivable and notes receivable in the respective amounts of $2,593.37 and $7,161.99, which he had been unable to collect, which have never been collected, and which were worthless at that date.  During the latter part of the year 1920 Johnson was sick and absent from his place of business.  In his absence his books were kept and his business was conducted by his son, Robert G. Johnson, then 23 years of age, who knew that the notes and accounts heretofore mentioned were worthless at December 31, but did not know of the law requiring, for income-tax purposes, a charge-off as of the year in which worthlessness is ascertained.  Such notes and accounts were carried forward into the assets accounts of Johnson for the succeeding years and were charged off in 1923 as of December 31, 1920.  The makers of the alleged worthless notes and the accounts receivable debtors were, for the most part, tenant farmers*4149  operating in Walla Walla County.  In the year 1920 there was a partial failure of crops and very great decline in the market value of farm products and especially of wheat and fruit, which are the principal sources of agricultural income in that locality, with the result that the debtors of Johnson, for the most part, became bankrupt and many of them left the county and located in parts unknown to their creditors.  In the year 1920 Johnson made business trips to Los Angeles and Portland, and incurred and paid traveling and other business expenses in the respective amounts of $450 and $100.  *231  OPINION.  LANSDON: The petitioner has proved that the notes and accounts in question were worthless at December 31, 1920, but not that such worthlessness was ascertained in that year or the amounts thereof charged off.  On this issue the respondent is affirmed.  The evidence of record amply sustains the petitioner's claim for a deduction from gross income for the year 1919 on account of traveling expenses incurred and paid for business purposes.  The amount of $550 should be deducted from the gross income of the marital community as ordinary and necessary business expenses for*4150  the taxable year.  Judgment will be entered on 10 days' notice, under Rule 50.